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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                          MEMORANDUM DECISION AND
                       Plaintiff,                           ORDER GRANTING EARLY
                                                          TERMINATION OF SUPERVISED
v.                                                                RELEASE

SCOTT H. LOWRY,                                                 Case No. 2:05CR895DAK

                       Defendant.                                 Judge Dale A. Kimball




       This matter is before the court on Defendant Scott H. Lowry’s motion for early

termination of supervised release. On March 24, 2008, the court sentenced Defendant to 70

months incarceration with the United States Bureau of Prisons followed by a 36-month term of

supervised release. On October 8, 2010, Defendant was released from custody and began serving

his term of supervised release. Therefore, Defendant’s term of supervised release is not

scheduled to terminate until October 8, 2013.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and
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the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed

to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       The court has contacted Defendant’s probation officer and learned that she supports early

termination in this case. The court has also been notified that the government has no objection to

an early termination of supervised release in this case. Defendant has had no problems while on

supervised release and has complied with all the terms of his supervised release. Defendant has

been employed consistently and has completed the R-dap drug-treatment program. All of

Defendant’s drug tests have been negative. Based on Defendant’s conduct during his term of

supervised release, the court finds that an early termination of supervised release is warranted.

Accordingly, the court grants Defendant’s motion for early termination of supervised release.

       DATED this 19th day of October, 2011.

                                              BY THE COURT:




                                              DALE A. KIMBALL
                                              United States District Judge




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